         DAY 0 J~E~k~ClYrI.Q N ~- J,ETII~\J:>_JN .JE_Q:fIQN ~XECUTJ QN_BEk_QRDER
                                                     CHl~ClU.IST

Inmate Name            ·Bi l \'1 R"'"'{ lfl.," c.\t_ Inmate#,.    \\   3'\ 11 S.:
Date__     8' . . 't _.;- d.o' ~
   TIME
 \ (, 3 0                    Report to designated area for final briefing

l~SI                         Extraction Teani and IV l'eam report to Administrative Lieutenants         office~ IV
                             Team sets up IV systen;i.

  \'1 l'i                    Physician. in pla<;e

 \1.\'j                      IV Te~ in p~ce (EMTs and- Officers)

  lJ 1'i                    :Medic;al Examiner in place

 \loSl                       Te~   Leader in place -.
 1.1   ~   Lj                Qheck b~ds and curtains

        11·                 Advise Escort Officer to transport Official Witnesses to Parole Room
 1i?-o                      Advise-d: by Escort Officer .that Official Wituesses arE7 in Parole Room

 1139                       °Adv.Ure Escort Officers (2) ~escort Victim'~ Wit~esses to Viewing.Room
 111;.                       Advised hy Escort Officers (2) that Victim's Witnesses are ~place
 \ 'l oo                     warden or designee checks to ensure exec.:ut:ion is to p~ceed

 1'f0 0                      Gurney.positioned in Death. Watc~Area

'\ °IOS-        I
                             Extraction Team enters and secures offender t.o g:rrney

 lg-~   0                    Advise Escort Qfficer to transport Official Witnesses to De0:ili Watch vestibule

 'g43                      -Advised by Escort-Officer-that OffieialWitnessea are in the vestif;ule--------

                             IV' Team enters the Execution Chamber

                             IV Tean:i exits the Execution Chamber

\~~J ___ AdviswEscort Officer to "Transport Official Witnesses in place               11




                                                                            Recorder's Initials




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               -                       .                        .                            .    ,

        DAY OP EXECUTION - LETHAL JN ..JECTJON T£XECU'l:ION                          RE~CORDER
                           CHECKI...IST (contjpued)

Inmate N m:ne       B; \l1      Ri\'1 .\ 0-\ ~"- .· . Inmate # I \ 3 ~ ~ ~
Date        &{C\ {,to. I tl_
 . TIME
 \~L\G,                Advised by Escott Officer that '1Witnes~s are in pl.a~"
 'q )b                 Warden checks with Command Ce~ter to proceed
 \ q ;t(p              Warden oidei;s blinds opened, closed circuit TV activated and .audio activated fo:r
                       vi~w:Jng rooms..

                       Warden asks offender for any last comments

                       Warden orders. Execution 'ream to ·proceed

                       Lethal In,jection procesa :nmpl~ted
  \ q·~"               ~linds   and curtains closed and closed circuit TV deactivated

  \'\«-t1              Physician enters the Exe<::uticin Chamber
  t'tLi~.              .Physician pronounces death - exact time
 ll{'i~                Audio deactivated to witness rooms
 l'fl..fq              Advise Escort Ofi:xcers {2) to remove Victim.a Wltnea~s

 l ~~'t                Advise ·Commissioner o.r designee in Command Center that execution is
                       completed

                       Physician and :gMl's d~part

                       Medical Examiner escorted to chamber to take posseasion of body. Pictures will
                       be .taken 9f body and Execution Chamber .Prior to removal·.o:f body .



                       Advise Escort Officer to remove Official Witnesses ·

                       AdYised by Escort Officer that Official Witnesses are at Checkpoint                      \.




                       The body removed from the institution

                                                                      Recorder's Initials




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                                                                                            Attachment 10
  DAY Of EXECUTION - LETHAL INJECTION EXECUTION RECORDER CHECKLIST~



  Inmate Name .      \31 ll 1 R"'\ l l'L-\ C-\L
  Dclie   '6 (°I I ~o I'l

  Offender's ComfDents if any:

  J  jv;f ltJAn.\- +, S~ tM+ J: 1'1-~                  /lulll So~    A.-.d 1-\.,...,-1-',
  _jL




  _Lethal .rnjecJion R_ecordeJ ·                           - Dafe




                                                             Dote




                                                  84

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                                                                    Attachment 10
  LETHAL INJECTION CHEMICAL ADl\1INISTRATION RECORD

 Inmate Name                            : Inmate # __   LJJ_1!JS
 Date

                                 SET 1       (Red)

                               Chen1ical                 Time Begin

        Syringe 1              Midazolam

        Syringe 2              Midazolam                  j

        Syringe 3              Saline                         _I131-~
 (Two minute waiting period)

 Consciousness check notes:



        Syringe 4              Vecuronium Bromide             /~ 3'?

        Syringe 5              Vectironium Bromide

        Syringe 6              Saline

        Syringe 7              Potassium Chloride

        Syringe 8              Potassium Chloride

        Syringe 9              Saline                         11

                                                    End Time           IY




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                                                                            Attachment 10
 LETHAL INJECTION CHEMICAL ADMINISTRATION RECORD

       Inmate Na1ne                            Inmate# /




                                        2    (Bhi.e)


                               Chemical                Time Begin

       Syringe 1               Midazolam

       Syringe 2               Midazolam

       Syringe 3               Saline

 (Two minute waiting period)

 Consciousness check notes:



       Syringe 4               Vecuronium Bromide

       Syringe 5               Vecuronium Bromide

       Syringe 6               Saline

       Syringe 7               Potassium Chloride

       Syringe 8               Potassium Chloride

       S:.-·ri ngt> 0          Saline




       \Vu rd·




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                 C:I-IEl\1ICAJ-; PJ{EPARA'fJON TilVIE SHEET

 Datt>




 500 mg Midazolam                                      Tirne




 Witnessed by ___   < ___




 100 mg Vecuronium Bromide

                                           _____ at

 Witnessed b)r

 240 mEq Potassium Chloride

                                                 at

 Witnessed by    -<--~-

 Saline




             by------····
 3:-Syringes prepared by_____


 Witnessed




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                                                                  Attachment 10
 500 mg IVIidazolam                                    Time

 2-Syringes prepared by_                         at

 Witnessed by ___ ....___ _

 100 mgVecuronium Bromide



 Witnessed by __, ___

 240 .mEq Potassiurn Chloride

                                                 at    /75<'o
 Witnessed by

 Saline

                                                at

 Witnessed by




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                                                                  Attachment 10
